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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                          No. 16-10094-LTS
                                    )
ROSS MCLELLAN,                      )
      Defendant                     )
                                    )
___________________________________ )

                DEFENDANT ROSS MCLELLAN’S MOTION FOR RELIEF

       Now comes the Defendant, Ross McLellan, by and through undersigned counsel,

pursuant to the Fifth and Sixth Amendments, and hereby respectfully moves this Honorable

Court for an order requiring the Government to exercise its rights under the Mutual Legal

Assistance Treaty to obtain the materials detailed in the Letters Rogatory issued to the Ireland-

based entities, referred to herein as “Irish Government Pension Fund” and “Irish Corporation,”

or, alternatively, excluding at trial all evidence relating to the transitions performed for these

entities and striking all related language from the Indictment. This request, although somewhat

novel, derives directly from the Government’s decision to prosecute alleged offenses based

largely on extraterritorial agreements entered into between an international bank’s UK entity and

exclusively extraterritorial clients who themselves are not subject to the ordinary compulsions of

pretrial or trial subpoenas. As detailed in the memorandum incorporated below, despite copious

efforts to secure execution of the Court issued Letters Rogatory (see, e.g., Affidavit of Dara

Robinson, attached hereto as Exhibit 1), the defendant has just learned that Ireland’s Central

Authority surprisingly refuses to honor the Letters Rogatory, and, instead, has advised Mr.

McLellan’s Ireland-based counsel that a single avenue exists for production of the requested



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materials: a communication from the United States Attorney General’s Office to Ireland’s

Central Authority pursuant to the Mutual Legal Assistance Treaty (“MLAT,” herein). See, e.g.,

Affidavit of Dara Robinson (Exhibit 1) at ¶10. The position taken by Ireland’s Central Authority

leaves Mr. McLellan in a constitutional bind—he is incapable of exercising his constitutional

right to compel production of materials and concomitantly to effectively cross-examine his

accusers, to secure his constitutional rights to due process, to compulsory process, and to fully

present a defense that is fundamental to a fair trial. As such, Mr. McLellan respectfully requests

an order compelling the Government to assist in, and therefore make possible, the production of

important, material documents or, alternatively, exclude all evidence relating to the transitions at

issue. See, e.g., United States v. Theresius Filippi, 918 F.2d 244, 247 (1st Cir. 1990) (stating that

the government’s “deliberate omission to act” on a request for a “Special Public Interest Parole”

to allow a defense witness, who happened to be an Ecuadorian citizen, to testify “constitute[d] a

violation of the Sixth Amendment right to compulsory process and, derivatively, the right to due

process protected by the Fifth Amendment”).

       As further grounds and reasons therefore, the defendant relies upon and incorporates the

memorandum of law below.

                                Local Rule 7.1(a)(2) Certification

       Undersigned counsel conferred with counsel for the Government and the

Government, by and through Stephen E. Frank, opposes the instant motion.

                                      Memorandum of Law

I.     Factual Background

       On or about June 26, 2017, the Honorable Marianne B. Bowler issued two Letters

Rogatory to the Judicial Authority of Ireland seeking international judicial assistance to obtain




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evidence from two Irish entities, Irish Government Pension Fund and Irish Corporation. See,

e.g., Electronic Order dated June 15, 2017. Each Letter Rogatory admonished that the Court

“considers the evidence sought” as being “directly relevant to the issues in dispute” in this case.

See Dkt. 168-1 and 168-2. The Letters further advised that evidence regarding what Irish

Government Pension Fund and/or Irish Corporation “understood about [State Street’s] charges

and the agreements governing its transition with State Street bears directly on the allegations” in

this case. Id. The Letters further explained that it had been demonstrated to the Court “that

justice cannot completely be done amongst the parties without the production of the documents

requested” in the pertinent Letter. Id. Finally, the Letters explained that the “Requested

Evidence is material to certain issues now pending in the Action and the Court has been

informed that they are available solely in Ireland and will not be obtained by the DOJ through a

Mutual Legal Assistance Treaty request,” and further that the “Court is authorized by Title 28,

United States Code, Sections 1781 and 1782 to extend similar assistance on request of the

judicial authorities of Ireland.” Id. In July 2017, the Court continued the trial date in part to

allow the defendant time to receive the results of a series of Letters Rogatory, including the ones

at issue in this motion. Dkt. 195.

       Once issued, Mr. McLellan began his exhaustive efforts to secure service and/or

execution of the Letters Rogatory. As part of that process, in late June, early July 2017, Mr.

McLellan retained Irish Counsel to assist with the Letters Rogatory process. See Affidavit of

Dara Robinson (Exhibit 1) at ¶¶2-3. From that point forward, the defense team was in regular

contact with both Irish counsel and representatives from the U.S. Department of State and/or the

U.S. Embassy in Ireland, repeatedly inquiring and pushing for execution of the Letters Rogatory.

Finally, on January 3, 2018, Irish counsel advised that the logjam had been broken and there was




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a reasonable expectation that the process would be accelerated from that point forward. See, e.g.,

Affidavit of Dara Robinson (Exhibit 1) at ¶9. However, less than two weeks later, on January

15, 2018, Mr. McLellan learned that the Central Authority of Ireland refuses to honor the Letters

Rogatory. Per Mr. Robinson, the Central Authority of Ireland has “suprising[ly]” admonished

that a single avenue exists for the production of the requested materials: an MLAT request from

the United States Attorney General’s Office to the Central Authority of Ireland. See Affidavit of

Dara Robinson (Exhibit 1) at ¶¶10-11.

II.    Argument.

       “Under the Due Process Clause of the [Fifth and] Fourteenth Amendment[s], criminal

prosecutions must comport with prevailing notions of fundamental fairness.” California v.

Trombetta, 467 U.S. 479, 485 (1984). The Supreme Court has “long interpreted this standard of

fairness to require that criminal defendants be afforded a meaningful opportunity to present a

complete defense.” Id. The Sixth Amendment’s Compulsory Process Clause also contributes to

this constitutional guarantee. See Crane v. Kentucky, 476 U.S. 683, 690 (1986); see also

Pennsylvania v. Ritchie, 480 U.S. 39, 56 (1987) (explaining that the Compulsory Process Clause

confers on defendants “the right to the government’s assistance in compelling the attendance of

favorable witnesses at trial and the right to put before a jury evidence that might influence the

determination of guilt”) (emphasis added). In order to “safeguard” the defendant’s right to

present a complete defense, the Court “has developed what might loosely be called the area of

constitutionally guaranteed access to evidence,” which “delivers exculpatory evidence into the

hands of the accused, thereby protecting the innocent from erroneous conviction and ensuring the

integrity of our criminal justice system.” Trombetta, 467 U.S. at 485 (citation omitted).




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       Trombetta involved evidence, namely breath samples, that had once been in the

government’s possession but was not retained. Not surprisingly, much of the case law

interpreting and applying that precedent focuses on evidence lost or destroyed by the

government. See, e.g., Magraw v. Roden, 743 F.3d 1, 7 (1st Cir. 2014). The Trombetta Court

did, however, reference a possible “additional responsibility of guaranteeing criminal defendants

access to exculpatory evidence beyond the government’s possession.” 467 U.S. at 486

(emphasis added). The Court declined to definitively rule on the existence of any such duty,

which was not directly implicated in the case at hand.

       The reasoning behind Trombetta strongly supports its extension to cases like the present

one where the government declines necessary assistance to a defendant seeking to obtain

material evidence. See United States v. Stein, 435 F. Supp. 2d 330, 358 (S.D.N.Y. 2006) (“The

constitutional requirement of fairness in criminal proceedings not only prevents the prosecution

from interfering actively with the defense, but also from passively hampering the defendant’s

efforts.”).1 Here, the Letters Rogatory recognize the materiality of the requested evidence.

However, Mr. McLellan has just been informed that his only means of accessing that evidence is

through the MLAT process. See Affidavit of Dara Robinson (Exhibit 1) at ¶¶10-11. And,

because the MLAT does not confer any private rights, only the Government has the ability to

make use of these procedures. See 2005 US-Ireland Mutual Legal Assistance Treaty, July 14,

2005, T.I.A.S. No. 10-201.35, Annex, Article 1(4). Mr. McLellan is, therefore, utterly incapable
1
  At least one state appellate court has proceeded on the assumption that government restrictions
on access to evidence not in its possession may result in a Due Process violation under
Trombetta. See State v. Engle, 731 N.W.2d 852, 858 (Minn. Ct. App. 2007) (stating that
“governmental interference with a defendant’s collection and use of evidence not possessed by
the government may implicate due process”).
2
  Indeed, the Government need only initiate an MLAT request and ask for the materials. Mr.
McLellan has already identified the materials he is seeking in the Letters Rogatory. The
circumstances in which Ireland could deny the Government’s MLAT request are strictly limited.
See 2005 US-Ireland Mutual Legal Assistance Treaty, July 14, 2005, T.I.A.S. No. 10-201.35,

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of “present[ing] a complete defense” without the Government’s help, Trombetta, 467 U.S. at

485, and is likewise incapable of securing his constitutional right to due process and a

fundamentally fair trial.

        The First Circuit has made clear that, in some circumstances, the Due Process and

Compulsory Process Clauses create a constitutional requirement for the government to help a

defendant obtain material evidence. In United States v. Theresius Filippi, 918 F.2d 244 (1st Cir.

1990), defense counsel and the trial judge asked the government to request a “Special Public

Interest Parole” from the Immigration and Naturalization Service to allow a defense witness,

who happened to be an Ecuadorian citizen, to testify. When the government declined, the First

Circuit ruled that this “deliberate omission to act . . . constitute[d] a violation of the Sixth

Amendment right to compulsory process and, derivatively, the right to due process protected by

the Fifth Amendment.” Id. at 247. In reaching this conclusion, the court noted the materiality of

the witness’s proffered testimony and the necessity of government action to the defense’s ability

to present that testimony. See id. This analysis largely mirrors the Supreme Court’s reasoning in

Trombetta. See 467 U.S. at 488-90 (discussing materiality and irreplaceability of evidence).

        Here, these same considerations weigh in favor of requiring the Government to exercise

its rights under the MLAT to obtain the evidence Mr. McLellan seeks. As stated in Mr.

McLellan’s Motion to Continue Trial, the evidence in question is “essential to his defense.” Dkt.

181 at 1. The discovery materials Mr. McLellan has received to date do not include “many of

the relevant, material business documents from the six alleged victims,” all of which are based

outside the United States, given that the predominant source of documents and emails provided

in discovery derive from the Bank that employed Mr. McLellan (and Mr. Pennings), rather than




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from the files of bank clients, such as Irish Government Pension Fund and Irish Corporation.

Thus:

        Mr. McLellan is . . . largely without access to the internal deliberations of the six
        alleged victims . . . regarding essential aspects of the transactions, including their
        selection of State Street as the Transition Manager for the transitions at issue;
        their reliance or lack of reliance on certain statements made to them by Mr.
        Pennings or others at State Street; their assessment of whether the charging of
        additional revenues, if known, would be considered material; their assessment of
        whether the overall transition costs were considered acceptable; and the nature of
        the ‘victims’ responses upon learning from State Street that rebates were
        available.

Id at 4. Access to documents from the non-United States clients is therefore “critical to Mr.

McLellan’s ability to obtain a fundamentally fair trial,” including “his ability to cross-examine

the expected witnesses from at least several of the alleged ‘victim’ funds or companies.” Id. at

4-5.

        The Court granted Mr. McLellan’s requested continuance to allow him to pursue this

evidence through the Letters Rogatory process. In doing so, the Court acknowledged that the

reasons underlying Mr. McLellan’s motion were “substantial” and implicated “the opportunity to

gather evidence that counsel believes is necessary to prepare a zealous defense.” Dkt. 195 at 1.

The Court’s reasoning is supported by the Letters Rogatory, which provide that the “Court

considers that the evidence sought is directly relevant to the issues in dispute” in this case and

“that justice cannot completely be done amongst the parties without the production of the

documents requested” in the Letters Rogatory. See, e.g., Irish Corporation Letter Rogatory.

        Mr. McLellan has diligently pursued execution of the Letters Rogatory since their

issuance. In addition to the efforts detailed in the affidavit of Mr. Robinson (Exhibit 1), in the

months since the issuance of the Letters Rogatory lawyers assisting undersigned counsel made

repeated inquiries of the relevant parties and repeatedly pushed for service and/or execution of




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the Letters Rogatory. Then, surprisingly, on January 15, 2018, the defendant learned that all of

the collective efforts were futile because Irish authorities would only compel production of

documents through the MLAT process. See Affidavit of Dara Robinson (Exhibit 1) at ¶¶10-11.

       Thus, at least with respect to Irish Government Pension Fund and Irish Corporation, two

of the six clients alluded to in the indictment and one (Irish Government Pension Fund) of only

three clients specifically discussed therein, Mr. McLellan now faces the prospect of attempting to

defend himself at trial without access to evidence identified in the Letter Rogatory as being

“directly relevant” to the issues in dispute in this matter. The disadvantage he faces will become

even starker in the likely event that the Government calls one or more representatives of Irish

Government Pension Fund and/or Irish Corporation as trial witnesses. As explained in his

Motion to Continue, Mr. McLellan would then be forced to conduct a cross-examination without

access to important and relevant documentary materials and without the relevant

contemporaneous emails of the selected witness.

       Not only is the sought after evidence material, but, in light of the fact that it lies

exclusively in the hands of foreign entities, it is utterly inaccessible to Mr. McLellan absent

government assistance. “The United States has no subpoena power over a foreign national in a

foreign country.” Theresius Filippi, 918 F.2d at 246 n.2. Moreover, Mr. McLellan’s extensive

efforts to obtain the evidence via Letters Rogatory have proven unsuccessful. The evidence is,

accordingly, not accessible “by other reasonably available means.” Trombetta, 467 U.S. at 489.

       Mr. McLellan’s inability to obtain this material evidence is largely the product of the

Government’s decision to indict him in connection with securities transactions resulting from

transitions for non-US clients that were at their essence conducted largely if not solely

extraterritorially. See Dkt. 148 at 2. Even assuming, contrary to the argument outlined in Mr.




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McLellan’s pending motion to dismiss, that the transactions have sufficient United States

contacts to satisfy Morrison v. National Australia Bank, Ltd., 561 U.S. 247 (2010), they

indisputably involved significant events and communications occurring abroad. Indeed, all six

alleged “victims” referenced in the indictment are “foreign funds . . . located entirely in foreign

countries.” Dkt. 148 at 3. The Government, having put Mr. McLellan at this distinct

disadvantage through its own charging decision, should not be able to exploit that disadvantage

to improve its chances of success at trial. See Theresius Filippi, 918 F.2d at 246 (“A prosecutor

does not represent an entity whose interests include ‘winning’ at all costs. Instead, his client is

society, seeking justice rather than victory.” (citation omitted)). If the company/entity/witnesses

were located in the United States, they would be subject to Rule 17 subpoenas and the defense’s

need to seek further remedies would be moot. By electing to prosecute a case where all the

alleged victims are extraterritorial, the nature of the charges has inexorably resulted in the

difficulties in assembling the necessary defense evidence and the resulting constitutional conflict.

       In addition to the materiality of the evidence and the availability (or lack thereof) of

alternative proof, the Trombetta Court referenced the intent of the government actor as a relevant

factor in determining whether a Due Process violation has occurred. See 467 U.S. at 488 (noting

that the authorities acted “in good faith and in accord with their normal practice” (citation

omitted)). Mr. McLellan submits that any intent or even a lack of good faith requirement should

be limited to cases in which the government destroys or fails to preserve evidence once within its

possession. In this context, a bad faith limitation is arguably necessary to prevent the

government from “becom[ing] an insurer of the perpetual availability of every item caught in its

investigatory net.” United States v. Sepulveda, 15 F.3d 1161, 1195 (1st Cir. 1993). No such

concern is implicated where, as here, the defendant requests the Government’s necessary




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assistance in obtaining specific pieces of evidence already identified as “directly relevant.” To

the extent that the Court disagrees and imposes some form of intent requirement – an element the

defense contends is unnecessary in the current circumstances – the absence of any known

countervailing reason for the Government’s refusal to invoke the MLAT and level the “playing

field” between the parties is sufficient by itself for the Court to find that a good faith standard has

not been met.2 See Theresius Filippi, 918 F.2d at 248 (noting that the government could not

“point to its responsibility for regulating immigration to justify its conduct”). The Government’s

desire not to affirmatively involve itself in the MLAT process self-evidently cannot constitute a

sufficient excuse. If it did, then so too would the government’s apparent unwillingness to

request the necessary parole in Theresius Filippi.

       Mr. McLellan acknowledges the existence of out-of-circuit district court decisions

refusing to compel the government to exercise its rights under MLATs. He submits, however,

that those cases were wrongly decided and are based on a misunderstanding of the principles

underlying Theresius Filippi. In United States v. Rosen, 240 F.R.D. 204, 215 (E.D. Va. 2007),

for example, the court reasoned that “because the MLA Treaty is not within the process power of

the federal district court, a court’s failure to order the Executive Branch to invoke the MLA

Treaty process in favor of a defendant does not implicate a defendant’s constitutional right to

compulsory process.” Rosen cited Theresius Filippi for the proposition that “the right of

compulsory process does not ordinarily extend beyond the boundaries of the United States.” Id.
2
  Indeed, the Government need only initiate an MLAT request and ask for the materials. Mr.
McLellan has already identified the materials he is seeking in the Letters Rogatory. The
circumstances in which Ireland could deny the Government’s MLAT request are strictly limited.
See 2005 US-Ireland Mutual Legal Assistance Treaty, July 14, 2005, T.I.A.S. No. 10-201.35,
Annex, Article 3. Undersigned counsel understands that there is a Sovereign-to-Sovereign
aspect to many MLAT treaties but when balanced against the constitutional deprivations
resulting from a denial of the requested evidence, surely the Government should either invoke its
asymmetric powers or run the risk of an exclusion of evidence.



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at 214 (quoting Theresius Filippi, 918 F.2d at 247). But, after reciting this principle and

recognizing that any Sixth Amendment violation could not “rest on the failure to issue a

subpoena,” the Theresius Filippi court went on to clarify that the subpoena power was “not at

issue” in that matter. 918 F.2d at 247. It explained that the defense witness “did not require

compulsion” and “would have willingly appeared at trial . . . . Thus the onus on the United

States was not to compel [his] attendance . . . , but merely to make it possible . . . .” Id. The

same is true here. Mr. McLellan is not asking the Government to subpoena records located

outside its jurisdictional reach. Rather, he merely requests that it exercise its clear and

undisputed right to access relevant documents through MLAT procedures—i.e., merely make

possible the production of important and relevant documentary materials.

       If, contrary to the above analysis, the Court declines to order the government to obtain

the requested documents via the MLAT, Mr. McLellan asks that it alternatively preclude the

government from offering any testimony regarding the Irish Government Pension Fund or Irish

Corporation transitions and strike any related language from the Indictment. As explained

above, allowing any such witnesses to testify without affording Mr. McLellan access to crucial

material (whether affirmative exculpatory evidence or impeachment material) would result in a

one-sided evidentiary presentation violative of the right to a fair trial guaranteed by the Due

Process and Compulsory Process Clauses. See Holmes v. South Carolina, 547 U.S. 319, 331

(2006) (“[B]y evaluating the strength of only one party’s evidence, no logical conclusion can be

reached regarding the strength of contrary evidence offered by the other side to rebut or cast

doubt.”); Crane, 476 U.S. at 690–91 (“In the absence of any valid . . . justification, exclusion of .

. . exculpatory evidence deprives a defendant of the basic right to have the prosecutor’s case

encounter and survive the crucible of meaningful adversarial testing.” (citation omitted)).




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Suppression of the government’s evidence is an appropriate remedy to cure such a violation. See

Trombetta, 467 U.S. at 487 (“[W]hen evidence has been destroyed in violation of the

Constitution, the court must choose between barring further prosecution or suppressing . . . the

State’s most probative evidence.”). The least severe alternative remedy for a non-harmless Due

Process violation would be an after-the-fact grant of a new trial, resulting in significant

duplication of time and expense. Cf. United States v. Pasha, 797 F.3d 1122, 1139 (D.C. Cir.

2015) (“[A] Brady violation requires a remedy of a new trial.”); Woodfox v. Cain, 609 F.3d 774,

802 (5th Cir. 2010) (“[T]he remedy for a Brady violation typically is a new trial at which the

previously excluded evidence is admitted.”). Federal courts also have the “inherent power to

exclude evidence . . . where necessary to prevent the non-offending side from suffering unfair

prejudice.” Sacramona v. Bridgestone/Firestone, Inc., 106 F.3d 444, 446 (1st Cir. 1997).

III.   Conclusion.

       Wherefore, for all of the foregoing reasons, Mr. McLellan respectfully requests an order

requiring the Government to exercise its rights under the Mutual Legal Assistance Treaty to

obtain the materials detailed in the Letters Rogatory issued to Irish Government Pension Fund

and Irish Corporation, or, alternatively, excluding at trial all evidence relating to the transitions

performed for these entities and striking all related language from the Indictment.




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                                                   Respectfully Submitted,
                                                   Ross McLellan
                                                   By His Attorney,

                                                   /s/ Martin G. Weinberg
                                                   Martin G. Weinberg
                                                   Mass. Bar No. 519480
                                                   20 Park Plaza, Suite 1000
                                                   Boston, MA 02116
                                                   (617) 227-3700
Dated: January 19, 2018                            owlmgw@att.net



                               CERTIFICATE OF SERVICE

       I, Martin G. Weinberg, hereby certify that on this date, January 19, 2018, a copy of the
foregoing documents has been served, via electronic mail, upon Assistant U.S. Attorney Stephen
E. Frank and U.S. Department of Justice Trial Attorney William Johnston.

                                                   /s/ Martin G. Weinberg
                                                   Martin G. Weinberg




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